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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-60125-CIV-SCOLA/GOODMAN

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,

             Plaintiff,

  v.

  CIRCUITRONIX LLC,

        Defendant.
  ____________________________________/

   NOTICE OF FILING DEFENDANT CIRCUITRONIX, LLC’S CORRECTED MOTION
   FOR SUMMARY JUDGMENT AND STATEMENT OF MATERIAL FACTS ADDING
                  ECF REFERENCES TO CITED DOCUMENTS

             Counsel for Circuitronix, LLC (“CTX”) belatedly recognized, after filing its summary

  judgment motion and statement of material facts, that this Court employs a special procedure for

  the citation of supporting materials in summary judgment motions. See Third Am. Sch. Order

  (DE 153) at 2, ¶ 2 (requiring the pre-filing of exhibits so that they can be referenced using the

  ECF number). CTX had only followed Local Rule 56.1(b)(1)(B) and used ECF numbers to

  reference those documents which had previously been filed before the summary judgment

  filings.

             Having recognized this technical mistake, counsel hereby attaches for the Court’s ease of

  use corrected versions of CTX’s summary judgment papers that merely insert the ECF numbers

  assigned to the documents in the citations in both CTX’s motion for summary judgment (DE

  178) and statement of material facts (DE 177). Utilizing these otherwise unchanged versions of

  those filings will facilitate the Court’s review of the motion for summary judgment and will not

  prejudice Plaintiff in any way, since Plaintiff’s response to the motion is not yet due.
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  Dated: June 20, 2023                               Respectfully submitted,


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                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

  Notices of Electronic Filing generated by CM/ECF on June 20, 2023 as filed with the Clerk of the

  Court using CM/ECF.

                                      By: /s/ Christina H. Martinez    .
                                              Christina H. Martinez
